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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION


IN RE C.R. BARD, INC.,
PELVIC REPAIR SYSTEM PRODUCTS                                MDL No. 2187
LIABILITY LITIGATION

IN RE AMERICAN MEDICAL SYSTEMS,
PELVIC REPAIR SYSTEM PRODUCTS                                MDL No. 2325
LIABILITY LITIGATION

IN RE BOSTON SCIENTIFIC CORP.,
PELVIC REPAIR SYSTEM PRODUCTS                                MDL No. 2326
LIABILITY LITIGATION

IN RE ETHICON, INC.,
PELVIC REPAIR SYSTEM PRODUCTS                                MDL No. 2327
LIABILITY LITIGATION

IN RE COOK MEDICAL, INC.,
PELVIC REPAIR SYSTEM PRODUCTS                                MDL No. 2440
LIABILITY LITIGATION

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THIS DOCUMENT RELATES TO ALL CASES



   MOTION FOR SUBSTITUTION OF COUNSEL AND WITHDRAW OF COUNSEL


       PLEASE TAKE NOTICE, that Hughes & Coleman, PLLC (“H&C”), by and through

their undersigned counsel, respectfully moves this Court for entry of an order for all actions in

which David K. Koon formerly appeared as Counsel, H&C moves to substitute Attorney

Lee Coleman as Counsel in MDL Nos. 2187, 2325, 2326, 2327 and 2440, and withdraw David

K. Koon as Counsel, who is leaving the firm.
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       Accordingly, H&C respectfully requests that the Court enter an order updating

each member case in which any of the named attorneys have been associated in MDL Nos.

2187, 2325, 2326, 2327 and 2440.




                                                   s/David K. Koon __________________
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